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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     APPLE INC.,                                         Case No. 22-cv-02637-PCP
                                                        Plaintiff,
                                   8
                                                                                             ORDER STAYING CASE
                                                 v.
                                   9
                                                                                             Re: Dkt. No. 386
                                  10     RIVOS, INC.,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The parties have stipulated to stay all proceedings and deadlines in this matter in order to
                                  14   pursue a potential settlement. The parties’ stipulated request for a stay is granted and all
                                  15   proceedings and deadlines in this case shall be stayed until February 25, 2024. All hearing dates
                                  16   and pending deadlines are vacated. The parties shall file a joint status report, including any request
                                  17   to extend the stay, by February 9, 2024.
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                                  19          IT IS SO ORDERED.
                                  20   Dated: January 10, 2024
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                                                                                                     P. Casey Pitts
                                  23                                                                 United States District Judge
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